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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

BRANDON SMITH, TODD BERDANIER
and NICK HEINER, individually and on             Case No. 1:17-cv-01600
behalf of all others similarly situated,
                                                 (Chief Magistrate Judge Schwab)
                      Plaintiffs,

           v.

BELL-MARK TECHNOLOGIES
CORPORATION,

                      Defendant.


           PLAINTIFFS’ UNOPPOSED MOTION TO APPROVE
       COLLECTIVE ACTION SETTLEMENT AND ATTORNEYS’ FEES
                 WITH MEMORANDUM IN SUPPORT

         Plaintiffs Brandon Smith, Todd Berdanier and Nick Heiner (“Plaintiffs” or

“Plaintiffs Smith, Berdanier and Heiner”), respectfully move for approval of the

Amended Stipulation of Settlement1 (“Settlement”) reached in this putative class

and collective action pursuant to the Fair Labor Standards Act, 29 U.S.C. §216(b).

The Court should grant this motion to approve the Settlement because it is a fair

and reasonable resolution of a bona fide dispute. Lynn’s Food Stores, Inc. v. U.S.,

679 F.2d 1350, 1354 (11th Cir. 1982); accord Copeland v. ABB, Inc., 521 F.3d

1010, 1014 (8th Cir. 2008).         Defendant Bell-Mark Technologies Corporation

(“Bell-Mark”) does not oppose this motion.


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    Exhibit A attached hereto.
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                        MEMORANDUM IN SUPPORT

      Plaintiffs respectfully move for approval of the Settlement reached in this

putative class and collective action. Plaintiffs claimed that Defendant Bell-Mark

Technologies Corporation (“Bell-Mark”) misclassified them and other Field

Service Technicians as exempt, and failed to pay overtime for hours worked and

spent traveling to client sites in excess of 40 hours per week. Bell-Mark denied the

allegations, arguing that the Field Service Technicians are exempt under the

administrative exemption, that much of their travel time was non-compensable

under governing law, and that the class action allegations failed for lack of

numerosity, given that there were fewer than 25 Field Service Technicians

employed during the relevant time period.

      After exchange and analysis of payroll data and expense reports, a mediation

and further arm’s length negotiations, Plaintiffs and Bell-Mark (“the Parties”)

reached a settlement in an amount not to exceed $220,000 (“Global Settlement

Amount”), as follows:

    Participating Collective Action Members will be paid over $47 per

      workweek within the limitations period, which represents an additional half-

      time pay for approximately four (4) hours of overtime per workweek (over

      and above the salary they were already paid for such hours), based on an




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      average regular rate during the limitations period of $22.28 in exchange for a

      release of claims, totaling $93,315;

    Incentive payments will be paid to Plaintiffs for serving as named plaintiffs,

      totaling $20,000;

    Additional consideration will be paid to Plaintiffs Smith, Berdanier and

      Heiner in exchange for a General Release of their other non-wage claims,

      totaling $31,852; and

    Plaintiffs and Participating Collective Action Members will recover their

      attorneys’ fees and costs, totaling $74,833.

Plaintiffs have dropped their class action allegations and agreed to settle the

Lawsuit on an opt-in basis under the procedures governing settlements under the

Fair Labor Standards Act (“FLSA”), 29 U.S.C. §216(b).

      The Court should grant this motion to approve the Settlement because it is a

fair and reasonable resolution of a bona fide dispute. Lynn’s Food Stores, Inc. v.

U.S., 679 F.2d 1350, 1354 (11th Cir. 1982); accord Copeland v. ABB, Inc., 521

F.3d 1010, 1014 (8th Cir. 2008). This outcome is a model of efficient resolution,

achieved early in the case by experienced counsel for both sides, with minimal

burden on the Court. Bell-Mark does not oppose the motion.




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                              Facts and Procedural History

      Bell-Mark is a small company based in Dover, Pennsylvania. Bell-Mark

manufactures specialty printers and provides printing solutions in the medical

device, pharmaceutical, and food industries.          For example, for food and

pharmaceutical clients, Bell-Mark develops printers and software that will print

expiration dates on packaging.

      Plaintiffs were formerly employed as Field Service Technicians for Bell-

Mark. Field Service Technicians work at client sites to adapt, install and trouble-

shoot Bell-Mark's software and printers for diverse client applications.         They

recommend modifications, train clients and provide client support. When they are

in the shop, they prepare for client service trips, interact with printer developers to

learn the technology, provide input regarding the specific applications, and interact

with clients by phone, among other things. Plaintiffs were paid on a salary basis

during their employment.

      On September 8, 2017, Plaintiffs filed a class and collective action

Complaint against Bell-Mark on behalf of themselves and others similarly situated

alleging that Bell-Mark violated the FLSA, the Pennsylvania Wage Payment and

Collection Law, 43 P.S. 260.1 et seq. and the Pennsylvania Minimum Wage Act,

43 P.S. § 333.101 et seq., by failing to pay Plaintiffs and similarly situated

employees for overtime hours worked (“the Lawsuit”). (Doc. 1). Bell-Mark filed



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an Answer denying the material allegations of the Complaint on January 9, 2018.

(Doc. 6).

      On May 29, 2018, the Parties attended mandatory mediation. The attorneys

who attended the mediation are experienced wage and hour litigators and

vigorously represented their clients’ respective interests. Despite a good faith

attempt by the Parties and the mediator, a resolution of the matter was not possible

as the attempt at mediation was deemed premature by all involved.

      Subsequent to the mediation, the Parties embarked on an investigation and

exchange of information to ensure an informed and constructive post-mediation

dialogue. The Parties exchanged critical data, and counsel consulted with their

respective clients with regard to the information that was received. The Parties

evaluated the payroll data and time/travel/expense reports, as well as defenses

which Bell-Mark intended to raise to Plaintiff’s claims. Negotiations were robust

as both sides zealously advocated their interests. As a result of extensive analysis

and discussions with each other, the Parties were able to reach a mutually

acceptable settlement.

                                Settlement Terms

      The Settlement enables eligible members to resolve the wage and hour

claims asserted in the Lawsuit.    The Putative Collective Action Members for

purposes of settlement includes current or former employees who during any



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workweek from June 1, 2016 to April 1, 2019 were employed as a Field Service

Technician who traveled to client sites.2      There are 20 individuals, including

Plaintiffs Smith, Berdanier and Heiner, who are covered by the settlement. An

additional former Field Service Technician, Earl Haley, separately sued Bell-Mark

claiming retaliation and wage claims, and the motion to approve that settlement

was approved.     Earl Haley v. Bell-Mark Technologies Corporation, Middle

District of Pennsylvania Case No. 1:17-cv-01775-CCC (“Haley Lawsuit”).

      The Settlement provides for a Global Settlement Amount of up to

$220,000.00, inclusive of attorneys’ fees and costs, to resolve all claims of the

Putative Collective Action Members for unpaid wages alleged in the Lawsuit. The

Global Settlement Amount will be allocated as follows: (1) $93,315.00 will be

allocated to pay the claims of those who opt into the Settlement (“Participating

Collective Action Members”); (2) $31,852.00 will be allocated to individual

settlements of non-wage claims of Plaintiffs Smith, Berdanier and Heiner in

exchange for a global release; (3) $20,000.00 will be allocated to Plaintiffs Smith,

Berdanier and Heiner for serving as named plaintiffs; and (4) $74,333.00, or such




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  June 1, 2016 is two (2) years prior to the date of the Parties’ tolling agreement on
June 1, 2018. The original Stipulation of Settlement was filed with the Court on
April 8, 2018. The relevant time period for Plaintiffs Smith, Berdanier, and Heiner
dates back to September 9, 2014, three (3) years before September 8, 2017, when
they filed the Lawsuit.

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other amount approved by the Court, shall be allocated to pay Plaintiffs and the

Participating Collective Action Members’ attorneys’ fees and costs.

      The amount of settlement distributions to Participating Collective Action

Members shall be determined as set forth above.        One-half of all settlement

distributions will be deemed wages, subject to applicable withholdings and

previously authorized deductions and reported on a W-2 Form. The other one-half

will be deemed interest and liquidated damages and reported on an IRS Form 1099

in Box 3.

      Plaintiffs’ counsel engaged in numerous discussions with Plaintiffs, other

Putative Collective Action Members, and counsel for Bell-Mark to determine the

scope of the claims of the Putative Collective Action Members and the defenses

that would be asserted.      Based upon these discussions, Plaintiffs’ counsel

determined that questions existed with respect to whether some or all of the

claimed overtime hours were actually compensable. Furthermore, arguments were

raised by Bell-Mark that it acted in good faith and would likely be able to defend

against an assessment of liquidated damages.

      Importantly, no Putative Collective Action Member must participate, nor

submit anything to opt out of the Settlement in order to preserve any claim.

Instead, only Putative Collective Action Members who affirmatively participate




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will release their alleged claims. Any unclaimed portion of the Global Settlement

Amount will revert back to Bell-Mark.

      The Release provision is narrowly tailored to the wage claims that were

asserted or could have been asserted in the Lawsuit, and applies only to those who

choose to opt in and accept the Settlement. It provides, in toto:

      “Released Claims” means any and all claims alleging violation of
      federal, state and/or local statute, regulation, ordinance or common
      law relating to the payment of wages or overtime in connection with
      employment with Defendant Bell-Mark that were raised or could have
      been raised in this lawsuit, including any associated claims for wages,
      penalties, liquidated damages, interest, compensatory damages,
      punitive damages, or any other item of damages, and/or attorneys’
      fees and costs; except that with respect to Plaintiffs Smith, Berdanier
      and Heiner, “Released Claims” is defined more broadly in their
      separate General Releases.

(Exhibit A at 5, ¶22). In addition to the above Release, Plaintiffs Smith, Berdanier,

and Heiner are granting a general release of claims beyond those wage claims

brought in this case in exchange for a total gross amount of Thirty-One Thousand

Eight Hundred Fifty-Two Dollars and No Cents ($31,852.00) as follows:

$13,320.00 to Plaintiff Smith, $1,030.00 to Plaintiff Berdanier, and $17,502.00 to

Plaintiff Heiner.

      The proposed Notice of Settlement of Collective Action Lawsuit to be sent

to the Putative Collective Action Members (Exhibit 1 to Exhibit A attached hereto)

fully and clearly informs them of the material terms of the Settlement, their rights

to participate or not, the possible limitations on their rights should they not


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participate, the precise scope of the release, and the procedure to implement

whatever decision each individual makes regarding the Settlement.

      In addition to compensating Plaintiffs and Participating Collective Action

Members for their unpaid overtime wages, the Settlement provides for a

$10,000.00 service award for serving as named plaintiffs to Plaintiff Smith, a

$5,000.00 service award to Plaintiff Berdanier, and a $5,000.00 service award to

Heiner, who were all instrumental in pursuing this case, and diligently worked and

met with Plaintiffs’ counsel to investigate the case, attend mediation, and further

the litigation, all for the benefit of themselves and the Participating Collective

Action Members who will recover under this Settlement.

                                    Argument

I.    The Standard for FLSA Opt-In Settlement Approval

      This Lawsuit was settled on an opt-in basis under the FLSA, as Bell-Mark

vigorously contested Plaintiffs’ Rule 23 class action allegations for lack of

numerosity.   As a result, the Settlement has no binding effect on Putative

Collective Action Members unless they affirmatively accept the benefits of the

Settlement by opting in and becoming Participating Collective Action Members

(unlike Rule 23 settlements, which is binding on absent members unless they

affirmatively opt out of the class). Compare, e.g., Cooper v. Fed. Reserve Bank of

Richmond, 467 U.S. 867, 874 (1984) (“a judgment in a properly entertained class



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action is binding on class members in any subsequent action”) and Eisen v.

Carlisle & Jacquelin, 417 U.S. 156, 173 (1974) (explaining purpose of Rule 23

notice is to advise class members they will be bound by judgment unless they

request exclusion) with Greenwald v. Phillips Home Furnishings Inc., 2009 WL

259744 at *4 (E.D. Mo., Feb. 3, 2009) (“A collective action under [the FLSA, 29

U.S.C.] § 216(b) differs from class actions brought under Rule 23 . . . . A primary

distinction is that under FLSA a similarly situated employee must ‘opt in’ to the

collective action to be bound by it.”).

      “The primary focus of the court’s inquiry in determining whether to approve

the settlement of an FLSA collective action is not, as it would be for a Rule 23

class action, on due process concerns, but rather on ensuring that an employer does

not take advantage of its employees in settling their claims for wages.” Collins v.

Sanderson Farms, Inc., 568 F. Supp. 2d 714, 719 (E.D. La. 2008) (internal

citations omitted).

      “When employees bring a private action for back wages under the FLSA,

and present to the district court a proposed settlement, the district court may enter a

stipulated judgment after scrutinizing the settlement for fairness.” Simmons v.

Enterprise Holdings, Inc., 2012 WL 2885919 at *1 (E.D. Mo. July 13, 2012)

(citing Lynn’s Food Stores, 679 F.2d at 1353). “Accordingly, as long as the Court

is satisfied that a settlement reached in adversarial proceedings represents a fair



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and equitable compromise of a bona fide wage and hour dispute, the settlement

may be approved.” Id. Court review of an FLSA settlement is two-pronged. First,

the Court must be satisfied that the settlement was the product of “contested

litigation.” Second, the Court must inquire as to whether the settlement involves a

fair and reasonable resolution of a bona fide dispute between the parties. Lynn’s

Food Stores, 679 F.2d at 1353-1354. Typically, courts rely on the adversarial

nature of a litigated FLSA case resulting in settlement as indicia of fairness. Id. at

1354. If the proposed settlement reflects a reasonable compromise of contested

issues, the Court should approve the settlement in order to promote the policy of

encouraging settlement of litigation. Id.

      “While the Third Circuit has not directly addressed the factors to be

considered in deciding motions for approval of FLSA settlements, district courts

have typically looked to the considerations set forth in Lynn’s Food.” Brumley v.

Camin Cargo Control, Inc., CIV.A. 08-1798 JLL, 2012 WL 1019337 (D.N.J. Mar.

26, 2012). This Court should readily conclude the Parties’ Settlement here is a

reasonable resolution of a bona fide dispute in contested litigation.

II.   The Putative Collective Action Members are Similarly Situated for

Purposes of Settlement.

      As a threshold matter, the Court may readily conclude that the employees

eligible to participate in the settlement are “similarly situated” for purposes of



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settlement within the requirements of 29 U.S.C. § 216(b) of the FLSA, which is the

standard for maintenance of an FLSA collective action.            Here, the Putative

Collective Action Members eligible to opt into the Settlement are current or former

employees who during any workweek from June 1, 2016 to April 1, 2019 were

employed as a Field Service Technician who traveled to client sites.”3 Because the

employees held the same position and traveled to client sites during the same time

period, the Court may readily conclude the employees are “similarly situated” for

purposes of effectuating this Settlement.

      Plaintiffs have maintained from the outset that Bell-Mark’s Field Service

Technicians are similarly situated for the purpose of the FLSA wage and hour

claims set forth in this litigation. However, in light of the Parties’ early mediation,

ongoing negotiations and agreement to toll the statute of limitations during

settlement discussions, the required two-stage procedural process necessary to

move for conditional certification (first stage) and final certification (second stage)

was not pursued by Plaintiffs. As such, the Court has yet to grant certification of

the FLSA collective.

      For FLSA collective actions, “the Court must complete the second stage of

certification and grant final certification of the collective action before it can


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 However, the relevant time period for Plaintiffs Smith, Berdanier, and Heiner date
back to September 9, 2014, three years before September 8, 2017 when they filed
the Lawsuit.

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approve the settlement agreement.”        See Singleton v. First Student Mgmt.

LLC, Civ. No. 13–1744, 2014 WL 3865853, at *3 (D.N.J. Aug. 6, 2014) (certifying

collective action for settlement absent specific argument on issue); Bredbenner v.

Liberty Travel, Inc., 2011 WL 1344745, at *17 (D.N.J. April 8, 2011) (granting

final certification prior to approving settlement of FLSA collective action).

Sawyer v. Health Care Sols. at Home, Inc., No. 5:16-CV-5674, 2019 WL 1558668,

at *2 (E.D. Pa. Apr. 10, 2019). Typically, plaintiffs attempt to meet this burden by

having the court determine “whether the plaintiffs are employed in the same

corporate department, division, and location; whether they advance similar claims;

whether they seek substantially the same form of relief, and whether they have

similar salaries and circumstances of employment.” Keller v. TD Bank, N.A., Civ.

No. 12–5054, 2014 WL 5591033, at *8 (E.D. Pa. Nov. 4, 2014) (quoting Zavala v.

Wal Mart Stores, Inc., 691 F.3d 527, 536 (3d Cir. 2012)). Here, Plaintiffs are all

similarly situated with regard to their FLSA wage and hour claims, and the record

establishes that they were all employed by Defendant as Field Service Technicians

in the same department at the same location, brought identical claims for overtime

and are seeking compensation for these unpaid wages, and worked under the same

terms of employment with similar salaries. Bell-Mark stipulates to certification for

purposes of this settlement. Accordingly, this Court should find that Plaintiffs and




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the Putative Collective Action Members are similarly situated and grant final

certification as an FLSA collective for settlement purposes.

III.   The Settlement Is the Product of Contested Litigation

       The Settlement is the product of contested litigation, and this conclusion is

not altered by the Parties’ having resolved this case early in the proceedings. In

their Complaint, Plaintiffs presented detailed allegations regarding Defendants’

policies and practices of requiring employees to work overtime hours without

compensation.     In its Answer, Bell-Mark denied Plaintiffs’ material factual

allegations and asserted numerous defenses that it argued would defeat Plaintiffs’

and any putative collective/class claims in whole or in part. Through cooperative,

informal exchange of data and other relevant job-related information, the Parties

extensively investigated Plaintiffs’ claims.       In addition to their factual

investigation, the Parties also analyzed the various legal issues implicated in this

case, including the standards for assessing and defending claims for liquidated

damages under the FLSA. The settlement of the Lawsuit was achieved only after

the exchange of key information on disputed fact issues and the vetting of the

Parties’ positions through arms-length negotiation following mediation.

IV.    The Settlement Reflects a Fair and Reasonable Resolution of a Bona
       Fide Dispute Between the Parties

       The second prong of the Court’s settlement approval inquiry focuses on two

(2) issues. The first issue is confirming the existence of a bona fide dispute


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between the Parties under the FLSA. The second issue involves a review of the

fairness and reasonableness of the Settlement. Both are easily satisfied.

      A.     A Bona Fide Dispute Existed Between the Parties

      Plaintiffs allege Bell-Mark violated the FLSA and Pennsylvania wage laws

because it required employees to work overtime hours without compensation.

Bell-Mark denies Plaintiff’s allegations, contends that its policies and practices

comply with all applicable laws, and asserts numerous affirmative and other

defenses.

      If Plaintiffs’ allegations ultimately proved correct, Bell-Mark would be

faced with the prospect of a substantial monetary verdict exceeding the amount of

the Settlement, including additional damages for willfulness and statutory

liquidated damages, as well as an obligation to pay legal fees and costs incurred by

Plaintiff to prosecute the case through trial instead of the comparatively small fees

incurred to obtain this early resolution. If Bell-Mark prevailed, then Plaintiffs

would obtain no recovery of any kind. The Parties’ positions were staked out in

the Parties’ pleadings and at the mediation, and the Court should readily conclude

a bona fide dispute between the parties existed.

      B.     The Proposed Settlement Is Fair and Reasonable

      This Settlement was the product of arm’s-length negotiations by experienced

counsel and approximates the value of Plaintiffs and        the Putative Collective



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Action Members’ total claims for unpaid overtime hours worked, plus liquidated

damages, during the applicable time period, free and clear of attorneys’ fees or

expenses, as well as eliminating inherent risks both sides would bear if this

complex litigation continued to resolution by a jury. As a compromise, and to

provide Bell-Mark with the certainty of a ceiling on liability, the Global Settlement

Amount is capped at $220,000.00, even though Plaintiffs’ counsel believes that the

time spent by Plaintiffs and Putative Collective Action Members working unpaid

overtime hours may have exceeded the time used to achieve the Global Settlement

Amount.

      Plaintiffs’ counsel supports this compromise, in view of the disparity of

factual testimony anticipated amongst both plaintiff and defense witnesses, the

time and expense that would be required to analyze the expense reports at issue,

and because the estimated hours worked upon which the Global Settlement

Amount is based represents a reasonable approximation of the uncompensated

overtime hours represented by data from Bell-Mark. In sum, these are patently

reasonable compromises in light of the risks and costs associated with prosecuting

the case to a jury trial. Under these circumstances, a presumption of fairness

should attach to the Settlement. See Lynn’s Food Stores, 679 F.2d at 1354 (the

adversarial nature of a litigated FLSA case indicates fairness). Several specific

factors confirm the Settlement’s fairness and reasonableness:



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             1.     Public Policy Favors Settlements

      Public policy favors settlements. This is particularly true in complex cases

such as this, where substantial resources can be conserved by avoiding the time,

cost, and rigor of protracted litigation. See Lynn’s Food Stores, 679 F.2d at 1354

(public policy encourages settlement of FLSA litigation); Petrovic v. Amoco Oil

Co., 200 F.3d 1140, 1148 (8th Cir. 1999) (“A strong public policy favors

[settlement] agreements, and courts should approach them with a presumption in

their favor”). The Parties’ early settlement is a model of adversarial positions

coupled with cooperative exchange of critical information to enable the Parties and

their counsel to evaluate the claims and defenses without protracted expense and

burden on the Court.

             2.     Substantial Obstacles Exist if the Litigation Continues, and
                    the Settlement Offers Substantial, Immediate Relief

      The Parties disagree about the merits of the claims of Plaintiffs and the

Putative Collective Action Members’ claims and the viability of Bell-Mark’s

defenses. If litigation continues, Plaintiffs and the Putative Collective Action

Members would face many obstacles, including (i) the risk that the case would not

be certified; (ii) challenges to proving damages; (iii) risk of decertification; and (v)

the inherent risks of a jury trial. The Settlement brings immediate monetary value

to each Participating Collective Action Member. Although the recovery at trial




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could have been greater than sums received under the Settlement, it is also possible

the recovery would have been less, or nothing at all.

      Bell-Mark raised significant defenses. Bell-Mark argued that much of the

travel time at issue was not compensable under the Portal-to-Portal Act, 29 U.S.C.

§254(a)(1) (time spent "walking, riding, or traveling to and from the actual place of

performance of the principal activity or activities which such employee is

employed to perform" is not compensable), and associated regulations. 29 C.F.R.

§785.38 (travel between home and work at fixed or different locations is not

compensable); 29 C.F.R. 785.39 (overnight travel away from home is not

compensable if outside of employee's workday or normal work hours on non-

working days, and travel outside of regular working hours is not compensable if a

passenger on an airplane, train, boat, bus or car); Espinoza v. Atlas R.R. Constr.

LLC, No. 16-1413 (3d Cir. Nov. 30, 2016) (travel that was not part of the

employee's duties and occurred outside of normal work hours is not compensable

under the PMWA).

      Bell-Mark further argued that the position and work performed at issue in

this lawsuit is exempt under the administrative exemption of the FLSA. 29 U.S.C.

§213(a)(1); 29 CFR §541.200(a); e.g. Cruz v. Lawson Software, Inc., 764

F.Supp.2d 1050 (D.Minn. 2011) (company consultants who installed and upgraded

software products and trained clients held exempt under the administrative



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exemption); Bagwell v. Florida Broadband, LLC, 385 F. Supp.2d 1316 (S.D. Fla.

2005) (internet service field technician held exempt under the administrative

exemption). If the jury were to agree with Bell-Mark, Plaintiffs and the Putative

Collective Action Members would likely recover little or nothing.

      Moreover, Plaintiffs would have to obtain class or collective action

certification to present collective or class-wide claims to a jury. Although Bell-

Mark concedes the potential members of the Collective are similarly situated for

settlement purposes, Bell-Mark would have vigorously argued that various

differences in job duties and responsibilities preclude class and collective action

certification had litigation continued.      Further Bell-Mark raised a significant

numerosity defense to Plaintiffs’ class action allegations, resulting in this

settlement on an opt-in basis.      These issues remained uncertain, thus making

settlement of the litigation a sensible option for the Parties.

      In the face of these material disputes, it is significant that this Settlement

brings the Participating Collective Action Members a meaningful monetary value

now, not years from now, and provides certainty regarding the outcome. In re

King Resources Co. Securities Litig., 420 F. Supp. 610, 625 (D. Colo. 1976) (“the

Court should consider the vagaries of litigation and compare the significance of

immediate recovery by way of the compromise to the mere possibility of relief in

the future.”). “In this respect, it has been held proper to take the bird in the hand



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instead of a prospective flock in the bush.” Oppenlander v. Standard Oil Co., 64

F.R.D. 597, 624 (D. Colo. 1974) (citing cases).

            3.     This Was a Complex and Potentially Lengthy Case

      This case involved complex issues of fact and law which remain unanswered

and would have to be resolved at or before trial. Plaintiffs would need to compile

and adduce documentary evidence, representative testimony, and possibly expert

testimony sufficient to establish liability and damages for the Putative Collective

Action Members. Regardless of the outcome at trial, post-judgment appeals would

be likely. Accordingly, the complexity and prospective expense and duration of

litigation weigh in favor of approving the proposed Settlement.

            4.     The Parties and Their Counsel Support the Settlement

      After thorough investigation of the facts and law, the Parties have gained a

comprehensive knowledge of their respective claims and defenses. Additionally,

the Parties have ample evidence to make an informed assessment of the proposed

Settlement. “[T]he Court should also consider the judgment of counsel and the

presence of good faith bargaining between the contending parties. Courts have

consistently refused to substitute their business judgment for that of counsel.” Id.

Based on their knowledge of the case and the applicable law, as well as their

experience in similar FLSA actions, the Parties’ counsel believe the Settlement is

fair, reasonable, and adequate. The Parties respectfully suggest this Court should



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conclude the proposed Settlement reflects a fair resolution of a bona fide dispute

under the FLSA and approve the Settlement.

V.    Plaintiffs Smith, Berdanier and Heiner Should Receive Service Awards

      The time and dedication that an individual devotes to serving as named

plaintiffs in a lawsuit that inures to the common benefit of others warrants a

service award “above and beyond what the typical class member is receiving.” In

re Sprint Corp. ERISA Litig., 443 F. Supp. 2d 1249, 1271 (D. Kan. 2006)

(awarding $5,000 service award to each of four class representatives); see also

Simmons, 2012 WL 2885919 at *2 (approving $6,000 incentive awards to each

named plaintiff); Cimarron Pipeline Constr., Inc. v. National Council on

Compensation Ins., 1993 WL 355466 at *2 (W.D. Okla. June 8, 1993) (awarding

$10,000 service award to each of three class representatives); Camp v. Progressive

Corp., 2004 WL 2149079 at *7 (E.D. La. Sept. 23, 2004) (approving up to $10,000

in service awards to class representative and other plaintiffs). Service awards “are

particularly appropriate in the employment context [because] the plaintiff is often a

former or current employee of the defendant, and thus, by lending his name to the

litigation, he has, for the benefit of the class as a whole, undertaken the risk of

adverse actions by the employer.” Frank v. Eastman Kodak Co., 228 F.R.D. 174,

187 (W.D.N.Y. 2005) (awarding $10,523 out of class fund of $75,000).




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      Plaintiffs Smith, Berdanier and Heiner substantially assisted counsel in

achieving this Settlement on behalf of the Putative Collective Action Members,

and should receive service awards. Plaintiff Smith was responsible for initiating

this action and all of the Plaintiffs provided invaluable guidance and assistance on

numerous occasions to Plaintiffs’ counsel.         They also assisted counsel in

evaluating Defendant’s proffered defenses. There is no question that the other

employees have substantially benefited from their work on this Lawsuit. Without

Plaintiffs’ efforts, this case would not have been brought and this Settlement would

not have been achieved. In light of these efforts, payment of a $10,000.00 service

award to Plaintiff Smith, a $5,000.00 service award to Plaintiff Berdanier, and a

$5,000.00 service award to Plaintiff Heiner is amply justified.

VI.   Plaintiffs’ Counsel Should be Awarded Their Fees and Expenses.

      The Third Circuit uses two methods in determining attorneys’ fees in class

or collective action lawsuits, the lodestar method and the percentage-of-recovery

method. In re Gen. Motors Corp. Pick-Up Truck Fuel Tank Prod. Liab. Litig., 55

F.3d 768, 820–21 (3d Cir. 1995). The percentage-of-recovery method is generally

favored in cases involving a common fund, and is designed to allow courts to

award fees from the fund “in a manner that rewards counsel for success and

penalizes it for failure.” In re Prudential Ins. Co. Am. Sales Practice Litig. Agent

Actions, 148 F.3d 283, 333 (3d Cir. 1998). Further, the percentage of recovery



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method is the prevailing methodology used by courts in the Third Circuit for wage

and hour cases. Keller v. TD Bank, N.A., No. CIV.A. 12-5054, 2014 WL 5591033,

at *14 (E.D. Pa. Nov. 4, 2014)

      Under the FLSA, plaintiffs are entitled to reasonable attorneys’ fees spent in

recovering unpaid wages. 29 U.S.C. § 216(b). The common fund doctrine “rests

on the perception that persons who obtain the benefit of a lawsuit without

contributing to its costs are unjustly enriched at the successful litigant’s expense.”

Brown v. Phillips Petroleum Company, 838 F.2d 10 451,455 (l0th Cir. 1988)

(quoting Boeing Co. v. Van Gemert, 444 U.S. 472, 478 (l980)).               Thus, the

percentage award results “in a sharing of the fees among those benefited by the

litigation.” Brown, 838 F.2d at 454.

      In cases involving a fee-shifting statute, the Supreme Court has expressed a

preference that the parties agree to the amount of the fee: “A request for attorney’s

fees should not result in a second major litigation. Ideally, of course, litigants will

settle the amount of a fee.” Hensley v. Eckerhart, 461 U.S. 424, 437 (1983).

Following that advice, and desiring to avoid a second litigation over fees, the

Parties have agreed to settle their dispute over the award of attorneys’ fees, costs,

and expenses.




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        The agreed maximum fee amount of $73,333.00, equaling 33 1/3% of the

total Settlement is eminently reasonable.4 See Wiles v. Southwestern Bell Tel. Co.,

2011 WL 2416291, at *4-5 (W.D. Mo. June 9, 2011) (awarding 33 1/3% of the

common fund in attorneys’ fees); Johnson v. Brennan, 2011 WL 4357376 at *13

(S.D.N.Y. September 16, 2011) (awarding 33 1/3 % of recovery, stating “In wage

and hour class action lawsuits, public policy favors a common fund attorneys’ fee

award.”); In re Milos Litigation, 2011 WL 6015705 (S.D.N.Y. 2011) (33 1/3%);

Williams v. Aramark Sports, LLC, 2011 WL 4018205 at *10 (E.D. Pa. Sept. 9,

2011) (33 1/3%, stating that percentage of recovery is favored method in “common

fund” cases.”); and Boone v. City of Philadelphia, 668 F. Supp. 693, 714 (E.D. Pa.

2009) (citing a study of 289 class action settlements in the Third Circuit indicating

that the average percentage awarded was 31 1/7% and the median was 33 1/3%).

         Finally, Third Circuit jurisprudence also urges a “lodestar cross-check”

when applying the percentage-of-recovery method to prevent a fee that represents

an extraordinary lodestar multiple. In re Cendant Corp. Sec. Litig., 404 F.3d 173,

188 (3d Cir. 2005). “The Third Circuit has noted that a factor ranging between 1

and 4 is generally common.” Acevedo v. Brightview Landscapes, LLC, No. CV

3:13-2529, 2017 WL 4354809, at *16 (M.D. Pa. Oct. 2, 2017). Here, a lodestar

cross-check supports an attorneys’ fees request equaling 33 1/3% of the total


4
    Plaintiffs’ counsel also seeks reimbursement of $1,500.00, representing expenses.

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Settlement. Specifically, the loadstar in this case, at an hourly rate of $300.00,5

would award Plaintiffs’ counsel $69,405.00 for 231.35 billable hours, based on the

following:

       (a)   Attorney Derrek W. Cummings, as evidenced in Exhibit B, expended

             147.50 hours since litigation commenced in September of 2017, in

             pursuing the FLSA claims;

       (b)   Attorney Larry A. Weisberg, as evidenced in Exhibit C, expended

             79.00 hours since litigation commenced in September of 2017, in

             pursuing the FLSA claims; and

       (c)   Attorney Steve T. Mahan, as evidenced in Exhibit D, expended 4.85

             hours since litigation commenced in September of 2017, in pursuing

             the FLSA claims.

Accordingly, application of the percentage-of-recovery method in this case results

in an increase of only $3,928.00, or about 1.06 times lodestar; hardly an




5
    This Court has previously approved an hourly rate of $300 for Plaintiffs’
attorneys. See, Poff v. Prime Care Med., Inc., No. 1:13-CV-03066, 2016 WL
3254108, at *7 (M.D. Pa. June 14, 2016) (“Considering the skill, experience, and
reputation of Weisberg and Cummings, we conclude that $300 an hour is the
prevailing market rate for this case.”) Based upon Mr. Mahan’s experience, as
evidenced by his Affidavit, counsel believes that $300 per hour is an appropriate
billing rate for Mr. Mahan as well.



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extraordinary multiple and well within the Third Circuit’s noted factor of between 1

and 4.

         Plaintiffs’ counsel believes it should not be penalized for achieving the

expeditious, but impressive, benefit for the Putative Collective Action Members.

A fee reduction based on an expeditious settlement would only incentivize

unnecessary litigation and use of the Court’s resources. See In re Iowa Ready-Mix

Concrete Antitrust Litig., 2011 WL 5547159 at *1-3 (N.D. Ia. Nov. 9, 2011) (sua

sponte increasing attorney fee from 33.33 % to 36.04 % in recognition of efficient

early settlement).

         Plaintiffs’ counsel fee has been agreed upon by the Parties and will be paid

without diminishing the fairness of the recovery to the Collective. Pursuant to the

prescription of the Supreme Court in Hensley, 461 U.S. at 437, the Court should

not disturb the Parties’ settlement of the amount of Plaintiffs’ counsel fees. Bell-

Mark does not oppose this request for attorneys’ fees and costs.

                                      Conclusion

         This Settlement was reached as a result of contested litigation and resolves a

bona fide dispute between the Parties.           The Parties engaged in thorough

investigation of the facts and law and reached a Settlement that eliminates the

Parties’ respective risks and minimizes their expenses and the burden on the Court.

The Settlement is fair, reasonable, and adequate, and provides Participating



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Collective Action Members a Settlement that approximates the value of their total

claims for unpaid overtime hours worked, plus liquidated damages, during the

applicable time period, free and clear of attorneys’ fees or expenses. For the

reasons stated herein, Plaintiff respectfully requests that the Court approve the

Settlement.


                                     WEISBERG CUMMINGS, P. C.

Date: October 1, 2019                /s/ Derrek W. Cummings
                                     Derrek W. Cummings, Esquire
                                     Larry A. Weisberg, Esquire

                                     2704 Commerce Drive, Suite B
                                     Harrisburg, PA 17110-9380
                                     Phone: (717) 238-5707
                                     Fax: (717) 233-8133

                                     Plaintiffs’ Counsel




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                        CERTIFICATE OF SERVICE

      I hereby certify that on the date applied by the Court’s ECF filing system, I

electronically filed the foregoing with the Clerk of Court using CM/ECF.


                                      By: /s/ Derrek W. Cummings
                                            Derrek W. Cummings




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